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KATHRYN DAVIS
Attorney at Law
                                                                                              McGlinchey Stafford PLLC
T 713‐520‐1900 F 713‐520‐1025                                                                1001 McKinney, Suite 1500
kdavis@mcglinchey.com                                                                              Houston, TX 77002



June 7, 2024

The Honorable George C. Hanks, Jr
United States District Judge
Southern District of Texas, Houston Div.
515 Rusk St., Room 6202
Houston, TX 77002

RE:     Case 4:24‐cv‐02016, Valifornia Inc. v. U.S. Bank National Association as Trustee

Your Honor:

This firm represents Defendant U.S. Bank National Association as Trustee (“Defendant”) in the above‐
referenced proceeding. In accordance with Part 6.B. of the Court’s Procedures, Defendant submits this
pre‐motion conference letter to inform the Court of its intention to file a motion to dismiss the Petition
filed on May 1, 2024 (“Complaint”) by Plaintiff Valifornia Inc. (“Plaintiff”), for failure to state a plausible
claim for relief pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. Defendant respectfully
request a pre‐motion conference to discuss these issues with the Court.

Plaintiff as a junior lienholder is not a borrower and is not entitled to the requisite pre‐foreclosure notices
as provided for in the Texas Property Code, Section 51. Even if Plaintiff did have standing, Texas does not
recognize a claim for violation of the Texas Property Code, Section 51.002. Similarly, Plaintiff is not
entitled to a declaratory judgment “that the pending foreclosure sale of their Property is wrongful.”
Compl. ¶ 19.

For all these reasons, Defendant respectfully requests a pre‐motion conference as soon as practicable,
or a determination by the Court not to conduct a pre‐motion conference, so that Defendant may proceed
with the filing of their motion to dismiss the Complaint.

Sincerely,

McGlinchey Stafford PLLC

/s/ Kathryn Davis
Kathryn Davis


cc:     VIA CM/ECF
        Robert Clayton Vilt, clay@viltlaw.com

                                                                                                    mcglinchey.com

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